     Case 2:10-cr-00370-KJD-GWF            Document 165         Filed 10/31/12     Page 1 of 1




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 7                            UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11          Plaintiff,                                  Case No. 2:10-CR-00370-KJD-RJJ

12   v.                                                 ORDER

13   ALFRED T. SAPSE, et al.,

14          Defendants.

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16          The Court has issued a subpoena ordering the Custodian of Records of Desert Springs

17   Hospital Medical Center to appear at 4:00 p.m., Wednesday, October 31, 2012, for deposition and to

18   bring all of the records and documents associated with the hospitalization and/or treatment, from

19   from September 2012 until the present date, of Alfred Traian Sapse, DOB: March 6, 1926. In the

20   alternative, if the medical records, certified by the Custodian of Records, are delivered to United

21   States Pretrial Services Officer Alison K. McCurdy, before the time set of deposition, the subpoena

22   will be vacated.

23          DATED this 31st day of October 2012.

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25                                                 _____________________________
                                                   Kent J. Dawson
26                                                 United States District Judge
